803 F.2d 1181Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Donald Ray SHIVAR, Appellant,v.Leo HARPER, Sheriff of Lenoir County, Appellee.
    No. 86-6601.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 16, 1986.Decided Oct. 27, 1986.
    
      Donald Ray Shivar, appellant pro se.
      Tyrus Vance Dahl, for appellee.
      E.D.N.C.
      AFFIRMED.
      Before WIDENER, PHILLIPS and ERVIN, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Shivar v. Harper, C/A No. 85-283-CRT (E.D.N.C., April 23, 1986).
    
    
      2
      AFFIRMED.
    
    